       Case 1:25-cv-00716-BAH          Document 2-8      Filed 03/11/25      Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                       Plaintiff,

 v.

 U.S. DEPARTMENT OF JUSTICE, FEDERAL
 COMMUNICATIONS COMMISSION,
 OFFICE OF MANAGEMENT AND BUDGET,
 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION, OFFICE OF PERSONNEL                       Case No. 1:25-cv-00716
 MANAGEMENT, GENERAL SERVICES
 ADMINISTRATION, OFFICE OF THE
 DIRECTOR OF NATIONAL INTELLIGENCE,
 THE UNITED STATES OF AMERICA, and, in
 their official capacities, PAMELA J. BONDI,
 BRENDAN CARR, RUSSELL T. VOUGHT,
 ANDREA R. LUCAS, CHARLES EZELL,
 STEPHEN EHEKIAN, and TULSI GABBARD,

                       Defendants.


      [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

       UPON CONSIDERATION OF Plaintiff Perkins Coie LLP’s Motion for a Temporary

Restraining Order and accompanying memorandum, declarations, and exhibits, it is hereby

       ORDERED that the Motion is GRANTED; and

       ORDERED that Defendants are ENJOINED from enforcing or implementing Sections 1,

3, and 5 of the President’s March 6, 2025 Executive Order entitled “Addressing Risks from Perkins

Coie LLP”; and

       ORDERED that Defendants are directed to suspend and rescind all guidance or direction

to their officers, staff, employees, or contractors to communicate, effectuate, or implement

Sections 1, 3, and 5 of the Executive Order; and
       Case 1:25-cv-00716-BAH             Document 2-8     Filed 03/11/25      Page 2 of 2




       ORDERED that Defendants are directed to immediately issue guidance to their officers,

staff, employees, and contractors to disregard Sections 1, 3, and 5 of the Executive Order and carry

on their ordinary course of business absent such Sections of the Executive Order; and

       ORDERED that Defendants must, in good faith, take such other steps as are necessary to

prevent the enforcement or implementation of Sections 1, 3, and 5 of the Executive Order during

the effective period of this Order; and

       ORDERED that Defendants U.S. Department of Justice, Pamela Bondi, in her official

capacity as Attorney General, the Office of Management and Budget, and Russell Vought, in his

official capacity as director of the Office of Management and Budget, must immediately issue

guidance to all other agencies subject to the Executive Order to immediately suspend and rescind

any enforcement or implementation of Sections 1, 3, and 5 of the Executive Order; and

       ORDERED that Defendants must file a status report within 24 hours of the issuance of this

Order describing the steps taken to ensure compliance with this Order and certifying compliance

with it; and

       ORDERED that this Order shall remain in effect until further order of this Court.

IT IS SO ORDERED.


Washington, D.C.

Dated: ____________________                                  ______________________________
                                                             U.S. District Judge




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